           Case: 4:22-cv-00870-CDP Doc. #: 1-2 Filed: 08/22/22 Page: 1 of 1 PageID #: 10



                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF MISSOURI

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                                 _ Plaintiff,                    )
  KATI-H:RTNE MA -                hNrJER                         )
                                                                 )    Case No.
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                                    Defendant,                   )
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Atvt f RltA N   Assoc.r   TIO     D F DRTHODONTr:.T...._
                                                    ORIGINAL FILING FORM

            THI S FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
            WHE:'i I~ITIA TING A NEW CASE.



            □       THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

            PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER _ _ _ _ _ __

            AND ASSIGNED TO THE HONORABLE JUDGE _ _ _ _ _ _ _ _ __


            □       THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

            PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS _ _ _ _ _ _ _ AND

            THAT CASE WAS ASSIGNED TO THE HONORABLE _ _ _ _ _ _ _ _• THIS CASE MAY,

            THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.


                    NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

            COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

            MAY BE OPENED AS AN ORIGINAL PROCEEDING.



            The undersigned affirms that the information provided above is true and correct.

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            Date:   '6'/ 22/21.                                      v u ~ ~ ~-,«!
                                                                      Signature of Filing Party
